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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES                                     CRIM. NO. 10-0230

 VERSUS                                            JUDGE S. MAURICE HICKS, JR.

 JECARLOS CARTER, ET AL                            MAGISTRATE JUDGE HORNSBY

 _____________________________________________________________________

                                           ORDER

        Before this Court is a Motion to Limit Distribution of Information Provided Regarding

 Cooperating Witnesses (Record Document 137) filed by the Government. The motion is

 unopposed.

        “[T]he Government respectfully requests that defense counsel be ordered to instruct

 their clients not to distribute copies of information provided by the government regarding

 cooperating witnesses to third parties.” [Record Document 137 at 2]. The Government first

 raised the issue of witness intimidation at the pre-trial conference. The Court instructed the

 Government to file a motion to give the Defendants an opportunity to respond. None have

 responded despite an extension of time to respond. [Record Document 145].

        The Court finds the Government’s request wholly reasonable in light of the

 representations made to the Court.
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        For the foregoing reasons,

        IT IS THEREFORE ORDERED AND ADJUDGED that Government’s Motion to Limit

 Distribution of Information Provided Regarding Cooperating Witnesses (Record Document

 137) be and is hereby GRANTED. Defense counsel is ORDERED to instruct their clients

 not to distribute copies of information provided by the Government regarding cooperating

 witnesses to third parties.

        THUS DONE AND SIGNED in Shreveport, Louisiana, on this 6th day of May, 2011.
